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                                                                                                        CO 929
                                                                                                   Rev: 3/2016


                   UNITED STATES DISTRICT AND BANKRUPTCY COURTS

                               FOR THE DISTRICT OF COLUMBIA
                                                   7/7/2020
                                      Date: _____________________


DISTRICT OF COLUMBIA

___________________________________
 Plaintiff


             vs.                                                                     20-cv-01809 (EGS)
                                                                   Civil Action No.: __________________


ELEVATE CREDIT, INC.
___________________________________
Defendant


                                         NOTICE TO COUNSEL

         The above-entitled action, removed from the Superior Court for the District of Columbia, has
been filed and assigned to Judge  Emmet G. Sullivan
                           ___________________________________.            All counsel and/or pro se litigants
must include on any subsequent pleadings both the civil action number and the initials of the judge
assigned to this action. (See preceding sentence for the judge’s initials).

         Pursuant to Local Rule 83.2(a) and (b), an attorney must be a member in good standing of the bar
of this Court to appear, file papers or practice. To assist the Clerk’s Office in properly recording all
counsel of record, counsel for all parties must enter their appearance in accordance with Local Rule
83.6(a). Timely compliance with this requirement will enable the Clerk’s Office to ensure prompt
delivery of notices and orders.

        Finally, your attention is called to Local Rule 16.3 Duty to Confer. This rule clearly spells out
the duty of counsel, as well as pro se litigants, to confer and report back to the Court on a wide range of
questions.



                                                                   ANGELA D. CAESAR, Clerk

                                                                        /s/ Anson Hopkins
                                                               By: __________________________
                                                                         Deputy Clerk


CC: Wendy J. Weinberg
    Office of The Attorney General for the District of Columbia
    441 4th Street NW, Suite #1100
    Washington, DC 20001
